Case 2:05-cv-02361-SHI\/|-dkv Document 11 Filed 07/25/05 Page 1 of 3 Page|D 5

 

IN THE UNITED sTATEs DISTRICT coumnm BY"" "'“"°"'
FOR THE WESTERN DISTRICT oF TENNESS
WESTERN DIvIsIoN %%~1”-25 AH 5"42
lHU .
ALLEGIANCE MORTGAGE sERvICES, INC., aEHk)U.S.DlSTH\CTUM
On Behalf of Itself and All Others OFHWMBWHB

Similarly Situated,

Plaintiff,
VS. NO. 05-2361~Mav
INFINITY DATE CORP., E'l‘ AL. ,

Defendants.

 

ORDER GRANTING MOTION 'I‘O APPEAR PRO HAC VICE

 

Before the court is the July 15, 2005, motion for admission
pro hac vice of Scott R. Shepherd. Mr. Shepherd is a member in
good standing of the bar of the state of Pennsylvania and is
admitted to practice before the Pennsylvania Supreme Court. Mr.
Shepherd has obtained and is familiar with the local rules and
professional guidelines of this court. For good Cause shown, the
motion is granted and Scott R. Shepherd is admitted to
participate in this action as counsel for plaintiff.

lt is 50 oRDERED this ""?”r day of Juiy, 2005.

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

Tiiis document entered on the docket sheet in compl‘ance
with .Ftu!e scs andfor ?Q(a} FHCP on _z_Al” 'S

    
 

   

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Honorable Samuel Mays
US DISTRICT COURT

